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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


   STATE OF OKLAHOMA ex rel.                           )
   GENTNER DRUMMOND, in his capacity as                )
   Attorney General of the State of Oklahoma and       )
   OKLAHOMA SECRETARY OF ENERGY                        )
   AND ENVIRONMENT JEFF STARLING                       )
   in his capacity as the TRUSTEE FOR                  )
   NATURAL RESOURCES FOR THE                           )
   STATE OF OKLAHOMA,                                  )
                                                       )
                  Plaintiffs,                          )
                                                       )
   v.                                                  )
                                                       )       Case No. 05-CV-00329-GKF-SH
   TYSON FOODS, INC.,                                  )
   TYSON POULTRY, INC.,                                )
   TYSON CHICKEN, INC.,                                )
   COBB-VANTRESS, INC.,                                )
   CAL-MAINE FOODS, INC.,                              )
   CARGILL, INC.,                                      )
   CARGILL TURKEY PRODUCTION, LLC,                     )
   GEORGE’S, INC.,                                     )
   GEORGE’S FARMS, INC.,                               )
   PETERSON FARMS, INC., and                           )
   SIMMONS FOODS, INC.,                                )
                                                       )
                  Defendants.                          )

                                               ORDER

          Having found in favor of plaintiff State of Oklahoma ex rel. Gentner Drummond, in his

   capacity as Attorney General of the State of Oklahoma, and Oklahoma Secretary of Energy and

   Environment Jeff Starling, in his capacity as the Trustee for Natural Resources for the State of

   Oklahoma, on the State’s claims of statutory public nuisance, federal common law nuisance,

   trespass, and violations of Okla. Stat. tit. 27A, § 2-6-105 and Okla. Stat. tit. 2, § 2-18.1, and,

   further, having concluded that the State satisfied its burden to show that conditions have not
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   materially changed in the Illinois River Watershed following trial, the court enters the following

   deadlines:

          Plaintiff’s Proposed Final Judgment & Brief in Support:             July 9, 2025

          Defendant’s Combined Response to Proposed Final Judgment 1:         July 30, 2025

          Plaintiff’s Reply Brief:                                            August 11, 2025

          IT IS SO ORDERED this 18th day of June, 2025.




   1
     Defendants shall, collectively, file one document in response to plaintiff’s proposed final
   judgment.
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